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 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE
 8
      AMAZON.COM, INC., a Delaware
 9    corporation; and WEBER-STEPHEN                         No.
      PRODUCTS LLC, a Delaware Limited
10    Liability Company,                                     COMPLAINT FOR DAMAGES
                                                             AND EQUITABLE RELIEF
11                               Plaintiffs,
12           v.
13    Individuals and entities doing business as the
      following Amazon Selling Accounts:
14    ACKARY; AVANTAWAY; CCBAO;
      GRILLIKE; HIMIRL; HOZOEE; HZHJIY;
15    MELLSSA; MUSTBUILTY; NEXPLAS;
      PSHIP; VIDVIE-US; and DOES 1-10,
16
                                 Defendants.
17

18
19                                       I.      INTRODUCTION
20           1.      This case involves Defendants’ unlawful and expressly prohibited sale of grill
21    covers on Amazon.com that illegally bear a registered trademark of Weber-Stephen Products
22    LLC (“Weber”). Amazon and Weber jointly bring this lawsuit to permanently prevent and
23    enjoin Defendants from causing future harm to Amazon’s and Weber’s customers, reputations,
24    and intellectual property (“IP”), and to hold Defendants accountable for their illegal actions.
25           2.      The Amazon store offers products and services to customers in more than 100
26    countries around the globe. Some of the products are sold directly by Amazon, while others are
27    sold by Amazon’s numerous third-party selling partners. The Amazon brand is one of the most

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 1    well-recognized, valuable, and trusted brands in the world. In order to protect customers and

 2    safeguard its reputation for trustworthiness, Amazon invests heavily in both time and resources

 3    to prevent counterfeit goods from being sold in its store. In 2020 alone, Amazon invested over

 4    $700 million and employed more than 10,000 employees to protect its store from fraud and

 5    abuse. Amazon stopped over six million suspected bad-actor selling accounts before they

 6    published a single listing for sale and blocked more than ten billion suspected bad listings

 7    before they were published.

 8           3.      Weber is a leading worldwide designer, developer, and manufacturer of outdoor

 9    grills and accessories. Weber’s founder, George Stephen, began making and selling grills

10    under the Weber name in the 1950s. Since that time, Weber has developed and introduced

11    numerous revolutionary and iconic products, including its three-legged kettle grill design and

12    its lines of gas, charcoal, wood pellet, electric, and portable grills and accessories. Weber

13    designs, engineers, and manufactures grills and accessories built with the durability,

14    workmanship, and quality that matter to Weber’s customers. Relevant to this complaint, Weber

15    manufactures lightweight yet durable premium grill covers that customers use to protect their

16    Weber grills from rain, snow, and sun. Today, the Weber brand is one of America’s most

17    recognized and trusted brands in outdoor grills and accessories.

18           4.      Weber owns, manages, enforces, licenses, and maintains IP, including various

19    trademarks. Relevant to this Complaint, Weber owns the following registered trademark

20    (“Weber Trademark”).

21                          Mark                   Registration No. (International Class)
22
                           WEBER                              1,464,197 (IC 011)
23

24    A true and correct copy of the registration certificate for the Weber Trademark is attached as

25    Exhibit A.

26           5.      Between October 2018 and September 2021, Defendants collectively advertised,

27    marketed, offered, sold, and distributed at least eleven different types of grill covers in the

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 1    Amazon store using their Amazon selling accounts (“Selling Accounts”). Defendants used the

 2    Weber Trademark, without authorization, to deceive customers about the authenticity and

 3    origin of the products and to create a false affiliation with Weber.

 4           6.      As a result of their illegal actions, Defendants have infringed and misused

 5    Weber’s IP; willfully deceived and harmed Amazon, Weber, and their customers; compromised

 6    the integrity of the Amazon store; and undermined the trust that customers place in Amazon

 7    and Weber. Defendants’ illegal actions have caused Amazon and Weber to expend significant

 8    resources to investigate and combat Defendants’ wrongdoing and to bring this lawsuit to

 9    prevent Defendants from inflicting future harm to Amazon, Weber, and their customers.

10                                            II.     PARTIES

11           7.      Amazon.com, Inc. is a Delaware corporation with its principal place of business

12    in Seattle, Washington. Through its subsidiaries, Amazon.com, Inc. owns and operates the

13    Amazon.com website, counterpart international websites, and Amazon store (collectively,

14    “Amazon”).

15           8.      Weber is a Delaware limited liability company with its principal place of

16    business in Palatine, Illinois. Weber is a leading worldwide designer, developer, and

17    manufacturer of outdoor grills and accessories, including grill covers, sold under the Weber

18    brand name.

19           9.      Defendants are a collection of individuals who conspired and operated in

20    concert with each other to engage in the counterfeiting scheme alleged in this Complaint.

21    Defendants are subject to liability for their wrongful conduct both directly and under principles

22    of secondary liability, including without limitation respondeat superior, vicarious liability,

23    and/or contributory infringement.

24           10.     On information and belief, at least one Defendant is an individual or an entity

25    doing business as “Ackary” (referred to herein as the “Ackary Defendant” or “Ackary Selling

26    Account”) that provided a business address in Jiangsu, China. On further information and

27    belief, the Ackary Defendant personally participated in and/or had the right and ability to

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 1    supervise, direct, and control the wrongful conduct alleged in this Complaint, and derived a

 2    direct financial benefit as a result of that wrongful conduct.

 3           11.     On information and belief, at least one Defendant is an individual or an entity

 4    doing business as “Avantaway” (referred to herein as the “Avantaway Defendant” or

 5    “Avantaway Selling Account”) that provided a business address in Guangdong, China. On

 6    further information and belief, the Avantaway Defendant personally participated in and/or had

 7    the right and ability to supervise, direct, and control the wrongful conduct alleged in this

 8    Complaint, and derived a direct financial benefit as a result of that wrongful conduct.

 9           12.     On information and belief, at least one Defendant is an individual or an entity

10    doing business as “CCBAO” (referred to herein as the “CCBAO Defendant” or “CCBAO

11    Selling Account”) that provided a business address in Beijing, China. On further information

12    and belief, the CCBAO Defendant personally participated in and/or had the right and ability to

13    supervise, direct, and control the wrongful conduct alleged in this Complaint, and derived a

14    direct financial benefit as a result of that wrongful conduct.

15           13.     On information and belief, at least one Defendant is an individual or an entity

16    doing business as “Grillike” (referred to herein as the “Grillike Defendant” or “Grillike Selling

17    Account”) that provided a business address in Guangdong, China. On further information and

18    belief, the Grillike Defendant personally participated in and/or had the right and ability to

19    supervise, direct, and control the wrongful conduct alleged in this Complaint, and derived a

20    direct financial benefit as a result of that wrongful conduct.

21           14.     On information and belief, at least one Defendant is an individual or an entity

22    doing business as “HIMIRL” (referred to herein as the “HIMIRL Defendant” or “HIMIRL

23    Selling Account”) that provided a business address in Anhui, China. On further information

24    and belief, the HIMIRL Defendant personally participated in and/or had the right and ability to

25    supervise, direct, and control the wrongful conduct alleged in this Complaint, and derived a

26    direct financial benefit as a result of that wrongful conduct.

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 1           15.     On information and belief, at least one Defendant is an individual or an entity

 2    doing business as “Hozoee” (referred to herein as the “Hozoee Defendant” or “Hozoee Selling

 3    Account”) that provided a business address in Huangdong, China. On further information and

 4    belief, the Hozoee Defendant personally participated in and/or had the right and ability to

 5    supervise, direct, and control the wrongful conduct alleged in this Complaint, and derived a

 6    direct financial benefit as a result of that wrongful conduct.

 7           16.     On information and belief, at least one Defendant is an individual or an entity

 8    doing business as “HZHJIY” (referred to herein as the “HZHJIY Defendant” or “HZHJIY

 9    Selling Account”) that provided a business address in Zhejiang, China. On further information

10    and belief, the HZHJIY Defendant personally participated in and/or had the right and ability to

11    supervise, direct, and control the wrongful conduct alleged in this Complaint, and derived a

12    direct financial benefit as a result of that wrongful conduct.

13           17.     On information and belief, at least one Defendant is an individual or an entity

14    doing business as “MellSsa” (referred to herein as the “MellSsa Defendant” or “MellSsa

15    Selling Account”). On further information and belief, the individual or entity behind the

16    MellSsa Selling Account falsely represented its location as Pompano Beach, Florida, and has

17    deliberately registered additional false information with Amazon as part of a scheme to mislead

18    Plaintiffs. The true location of the MellSsa Defendant is presently unknown. On further

19    information and belief, the MellSsa Defendant personally participated in and/or had the right

20    and ability to supervise, direct, and control the wrongful conduct alleged in this Complaint, and

21    derived a direct financial benefit as a result of that wrongful conduct.

22           18.     On information and belief, at least one Defendant is an individual or an entity

23    doing business as “Mustbuilty” (referred to herein as the “Mustbuilty Defendant” or

24    “Mustbuilty Selling Account”) that provided a business address in Jiangsu, China. On further

25    information and belief, the Mustbuilty Defendant personally participated in and/or had the right

26    and ability to supervise, direct, and control the wrongful conduct alleged in this Complaint, and

27    derived a direct financial benefit as a result of that wrongful conduct.

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 1           19.     On information and belief, at least one Defendant is an individual or an entity

 2    doing business as “Nexplas” (referred to herein as the “Nexplas Defendant” or “Nexplas

 3    Selling Account”) that provided a business address in Guangdong, China. On further

 4    information and belief, the Nexplas Defendant personally participated in and/or had the right

 5    and ability to supervise, direct, and control the wrongful conduct alleged in this Complaint, and

 6    derived a direct financial benefit as a result of that wrongful conduct.

 7           20.     On information and belief, at least one Defendant is an individual or an entity

 8    doing business as “PShip” (referred to herein as the “PShip Defendant” or “PShip Selling

 9    Account”) that provided a business address in Jiangxi, China. On further information and

10    belief, the PShip Defendant personally participated in and/or had the right and ability to

11    supervise, direct, and control the wrongful conduct alleged in this Complaint, and derived a

12    direct financial benefit as a result of that wrongful conduct.

13           21.     On information and belief, at least one Defendant is an individual or an entity

14    doing business as “VIDVIE-US” (referred to herein as the “VIDVIE-US Defendant” or

15    “VIDVIE-US Selling Account”) that provided a business address in Zhejiang, China. On

16    further information and belief, the VIDVIE-US Defendant personally participated in and/or had

17    the right and ability to supervise, direct, and control the wrongful conduct alleged in this

18    Complaint, and derived a direct financial benefit as a result of that wrongful conduct.

19           22.     On information and belief, Defendants Does 1-10 (the “Doe Defendants”) are

20    individuals and entities working in active concert with each other and the named Defendants to

21    knowingly and willfully manufacture, import, advertise, market, offer, and sell counterfeit

22    Weber products. The identities of the Doe Defendants are presently unknown to Plaintiffs.

23    The Doe Defendants are subject to liability for their wrongful conduct both directly and under

24    principles of secondary liability including, without limitation, respondeat superior, vicarious

25    liability, and/or contributory infringement.

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 1                                III.    JURISDICTION AND VENUE

 2           23.     The Court has subject matter jurisdiction over Amazon’s and Weber’s Lanham

 3    Act claims for 1) trademark infringement; and 2) false designation and false advertising

 4    pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338(a). The Court also has subject

 5    matter jurisdiction over Amazon’s and Weber’s claim for violation of the Washington

 6    Consumer Protection Act pursuant to 28 U.S.C. §§ 1332 and 1367.

 7           24.     The Court has personal jurisdiction over all Defendants because they transacted

 8    business and committed tortious acts directed to the State of Washington, and Amazon’s and

 9    Weber’s claims arise from those activities. Defendants affirmatively undertook to do business

10    with Amazon, a corporation with its principal place of business in Washington, and marketed,

11    sold, and distributed through the Amazon store inauthentic grill covers bearing counterfeit

12    versions of the Weber Trademark and which otherwise infringed Weber’s IP. Several of the

13    Defendants caused shipment of these counterfeit products to customers in Washington. Each of

14    the Defendants committed, or facilitated the commission of, tortious acts in Washington and

15    has wrongfully caused Amazon and Weber substantial injury in Washington.

16           25.     Further, the named Defendants have consented to the jurisdiction of this Court

17    by agreeing to the Amazon Services Business Solutions Agreement (“BSA”), which provides

18    that the “Governing Courts” for claims to enjoin infringement or misuse of intellectual property

19    rights are state or federal courts located in King County, Washington.

20           26.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a

21    substantial part of the events giving rise to the claims occurred in the Western District of

22    Washington.

23           27.     Venue is also proper in this Court with respect to Defendants by virtue of the

24    allegations stated in paragraph 24 above, which are incorporated herein.

25           28.     Pursuant to Local Civil Rule 3(d), intra-district assignment to the Seattle

26    Division is proper because the claims arose in this Division, where (a) Amazon resides, (b)

27    injuries giving rise to suit occurred, and (c) Defendants directed their unlawful conduct.

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 1                                             IV.    FACTS

 2           A.      Amazon’s Efforts to Prevent the Sale of Counterfeit Goods

 3           29.     Amazon works hard to build and protect the reputation of its store as a place

 4    where customers can conveniently select from a wide array of authentic goods and services at

 5    competitive prices. Amazon invests a vast amount of resources to ensure that when customers

 6    make purchases through the Amazon store—either directly from Amazon or from one of its

 7    millions of third-party sellers—customers receive authentic products made by the true

 8    manufacturer of those products.

 9           30.     A small number of bad actors seek to take advantage of the trust customers place

10    in Amazon by attempting to create Amazon Selling Accounts to advertise, market, offer, and

11    sell counterfeit products. These bad actors seek to misuse and infringe the trademarks and

12    other IP of the true manufacturers of those products to deceive Amazon and its customers. This

13    unlawful and expressly prohibited conduct undermines the trust that customers, sellers, and

14    manufacturers place in Amazon, and tarnishes Amazon’s brand and reputation, thereby causing

15    irreparable harm to Amazon.

16           31.     Amazon prohibits the sale of inauthentic and fraudulent products and is

17    constantly innovating on behalf of customers and working with brands, manufacturers, rights

18    owners, and others to improve the detection and prevention of counterfeit products ever being

19    offered to customers through the Amazon store. Amazon employs dedicated teams of software

20    engineers, research scientists, program managers, and investigators to prevent counterfeits from

21    being offered in the Amazon store. Amazon’s systems automatically and continuously scan

22    thousands of data points to detect and remove counterfeits from its store and to terminate the

23    Selling Accounts of bad actors before they can offer counterfeit products. When Amazon

24    identifies issues based on this feedback, it takes action to address them. Amazon uses this

25    intelligence also to improve its proactive prevention controls.

26           32.     In 2017, Amazon launched the Amazon Brand Registry, a free service to any

27    rights owner with a government-registered trademark, regardless of the brand’s relationship

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 1    with Amazon. Brand Registry delivers automated brand protections that use machine learning

 2    to predict infringement and proactively protect brands’ IP. Brand Registry also provides a

 3    powerful Report a Violation Tool that allows brands to search for and accurately report

 4    potentially infringing products using state‐of-the‐art image search technology. More than

 5    500,000 brands are enrolled in Brand Registry, and those brands are finding and reporting 99%

 6    fewer suspected infringements since the launch of Brand Registry.

 7           33.     In 2018, Amazon launched Transparency, a product serialization service that

 8    effectively eliminates counterfeits for enrolled products. Brands enrolled in Transparency can

 9    apply a unique 2D code to every unit they manufacture, which allows Amazon, other retailers,

10    law enforcement, and customers to determine the authenticity of any Transparency-enabled

11    product, regardless of where the product was purchased. In 2020, over 15,000 brands were

12    using Transparency, enabling the protection of more than 500 million product units.

13           34.     In 2019, Amazon launched Amazon Project Zero, a program to empower brands

14    to help Amazon drive counterfeits to zero. Project Zero introduced a novel self-service

15    counterfeit removal tool that enables brands to remove counterfeit listings directly from the

16    Amazon store. In 2020, there were more than 18,000 brands enrolled in Project Zero. For

17    every listing removed by a brand, Amazon’s automated protections removed more than 600

18    listings through scaled technology and machine learning, stopping those listings from appearing

19    in the Amazon store.

20           35.     Amazon also uses industry-leading technology to analyze hundreds of unique

21    data points and robust processes to verify information provided by potential sellers. Amazon

22    constantly innovates on these tools and systems. For example, Amazon now connects one-on-

23    one with prospective sellers through video chat or in person at an Amazon office to verify

24    sellers’ identities and government-issued documentation. Amazon also verifies new and

25    existing sellers’ addresses by sending information, including a unique code, to the sellers’

26    addresses. These measures have made it more difficult for bad actors to hide. In 2020, only

27    6% of attempted new seller account registrations passed Amazon’s robust seller verification

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 1    processes and listed products for sale. Amazon prevented over six million attempts to create

 2    new selling accounts, stopping bad actors before they published a single product for sale, and

 3    blocked more than 10 billion suspected bad listings before they were published for sale in the

 4    Amazon store.

 5           36.      Once a seller begins selling in the Amazon store, Amazon continues to monitor

 6    the selling account’s activities for risks. If Amazon identifies a bad actor, it immediately closes

 7    that actor’s selling account, withholds funds disbursement, and investigates whether other

 8    accounts are involved in unlawful activities.

 9           37.      In addition to these measures, Amazon actively cooperates with rights owners

10    and law enforcement to identify and prosecute bad actors suspected of engaging in illegal

11    activity. Lawsuits like this one are integral components of Amazon’s efforts to combat

12    counterfeits.

13           B.       Weber and Its Anti-Counterfeiting Efforts

14           38.      Weber goes to great lengths to protect customers from counterfeits of its

15    products and is committed to leading efforts to combat counterfeit products. Weber utilizes

16    both internal and external resources to combat counterfeits, piracy, and distribution abuse

17    online. This includes trained internal staff who consistently monitor online retailer sites around

18    the world for IP infringements and counterfeit sellers. Weber also works with a third-party

19    brand protection service vendor on the detection and removal of product listings violating

20    Weber’s IP rights.

21           39.      When Weber is alerted to a suspected counterfeit product, it promptly

22    investigates the matter and takes appropriate action.

23           40.      Weber’s product design and manufacturing process is also set up to combat

24    counterfeits, with products and product packaging updated on a regular basis.

25           41.      Weber is currently enrolled in Amazon Brand Registry and Project Zero and

26    used these tools to combat the counterfeiting activity described in this Complaint.

27

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               C.       Defendants Created Selling Accounts and Agreed Not to Sell Counterfeit
 1                      Goods
 2             42.      Defendants controlled and operated the twelve Selling Accounts detailed in
 3    section D below through which they sought to advertise, market, sell, and distribute inauthentic
 4    grill covers bearing unauthorized depictions of the Weber Trademark. In connection with these
 5    Selling Accounts, Defendants provided names, email addresses, and banking information for
 6    each account.
 7             43.      To become a third-party seller in the Amazon store, sellers are required to agree
 8    to the BSA, which governs the applicant’s access to and use of Amazon’s services and states
 9    Amazon’s rules for selling through the website. By entering into the BSA, each seller
10    represents and warrants that it “will comply with all applicable laws in [the] performance of
11    [its] obligations and exercise of [its] rights” under the BSA. True and correct copies of the
12    versions of the BSA in effect when Defendants last sold products through their Selling
13    Accounts are attached as Exhibit B.
14             44.      The BSA incorporates, and sellers therefore agree to be bound by, Amazon’s
15    Anti-Counterfeiting Policy, the applicable version of which is attached as Exhibit C. The
16    Anti-Counterfeiting Policy expressly prohibits the sale of counterfeit goods in the Amazon
17    store:
18                  The sale of counterfeit products is strictly prohibited.
19                  You may not sell any products that are not legal for sale, such as products
                     that have been illegally replicated, reproduced, or manufactured[.]
20
                    You must provide records about the authenticity of your products if
21                   Amazon requests that documentation[.]
22             Failure to abide by this policy may result in loss of selling privileges, funds
               being withheld, destruction of inventory in our fulfilment centers, and other
23             legal consequences.
24    Id.
25             45.      Amazon’s Anti-Counterfeiting Policy further describes Amazon’s commitment
26    to preventing the sale and distribution of counterfeit goods in the Amazon store together with
27    the consequences of doing so:
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                  Sell Only Authentic and Legal Products. It is your responsibility to
 1                 source, sell, and fulfill only authentic products that are legal for sale.
                   Examples of prohibited products include:
 2
                   o Bootlegs, fakes, or pirated copies of products or content
 3
                   o Products that have been illegally replicated, reproduced, or
 4                   manufactured
 5                 o Products that infringe another party’s intellectual property rights
 6                Maintain and Provide Inventory Records. Amazon may request that you
                   provide documentation (such as invoices) showing the authenticity of your
 7                 products or your authorization to list them for sale. You may remove
                   pricing information from these documents, but providing documents that
 8                 have been edited in any other way or that are misleading is a violation of
                   this policy and will lead to enforcement against your account.
 9
                  Consequences of Selling Inauthentic Products. If you sell inauthentic
10                 products, we may immediately suspend or terminate your Amazon selling
                   account (and any related accounts), destroy any inauthentic products in
11                 our fulfillment centers at your expense, and/or withhold payments to you.
12                Amazon Takes Action to Protect Customers and Rights Owners. Amazon
                   also works with manufacturers, rights holders, content owners, vendors,
13                 and sellers to improve the ways we detect and prevent inauthentic
                   products from reaching our customers. As a result of our detection and
14                 enforcement activities, Amazon may:
15                 o Remove suspect listings.
16                 o Take legal action against parties who knowingly violate this
                     policy and harm our customers. In addition to criminal fines and
17                   imprisonment, sellers and suppliers of inauthentic products may
                     face civil penalties including the loss of any amounts received
18                   from the sale of inauthentic products, the damage or harm
                     sustained by the rights holders, statutory and other damages, and
19                   attorney’s fees.
20                 Reporting Inauthentic Products. We stand behind the products sold on
                    our site with our A-to-z Guarantee, and we encourage rights owners who
21                  have product authenticity concerns to notify us. We will promptly
                    investigate and take all appropriate actions to protect customers, sellers,
22                  and rights holders. You may view counterfeit complaints on the Account
                    Health page in Seller Central.
23
      Id.
24
             46.       When they registered as third-party sellers in the Amazon store and established
25
      their Selling Accounts, Defendants agreed not to advertise, market, offer, sell or distribute
26
      counterfeit products.
27

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                 D.          Verification of Counterfeit Weber Grill Covers Sold Through Defendants’
 1                           Selling Accounts
 2               47.         Between October 2018 and September 2021, Defendants collectively advertised,
 3    marketed, offered, sold, and distributed at least eleven different types of counterfeit grill covers
 4    in the Amazon store using the Weber Trademark. As set forth below, Weber has conducted test
 5    purchases from the Defendants’ Selling Accounts and determined that the products were
 6    counterfeits and bore a counterfeit Weber Trademark.
 7                      i.          Ackary Selling Account
 8               48.         At all times described herein, the Ackary Selling Account was controlled and
 9    operated by the Ackary Defendant and, on information and belief, other unknown parties.
10               49.         Between June 2020 and February 2021, the Ackary Defendant advertised,
11    marketed, offered, and sold inauthentic grill covers in the Amazon store bearing the
12    unauthorized Weber Trademark through the Ackary Selling Account, including the grill cover
13    model 7152. Weber conducted a test purchase of a model 7152 grill cover from the Ackary
14    Selling Account and, based on a physical examination, determined that it was a counterfeit.
15    Although the product contained reproductions of the Weber Trademark, the product and the
16    product’s packaging differed from authentic Weber-brand grill covers. In addition, the detail
17    contained on the product’s tag was inconsistent with Weber’s manufacturing specifications.
18                     ii.          Avantaway Selling Account
19               50.         At all times described herein, the Avantaway Selling Account was controlled
20    and operated by the Avantaway Defendant and, on information and belief, other unknown
21    parties.
22               51.         Between September 2020 and February 2021, the Avantaway Defendant
23    advertised, marketed, offered, and sold in the Amazon store inauthentic grill covers bearing the
24    unauthorized Weber Trademark through the Avantaway Selling Account, including the grill
25    cover models 7106 and 7107. Weber conducted a test purchase of model 7106 and 7107 grill
26    covers from the Avantaway Selling Account and, based on a physical examination, determined
27    that they were counterfeits. Although the products contained reproductions of the Weber
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 1    Trademark, the products and the products’ packaging differed from authentic Weber-brand grill

 2    covers. In addition, the detail contained on the products’ tags was inconsistent with Weber’s

 3    manufacturing specifications. Finally, the grill covers themselves were made of a substandard

 4    material that differs from the material Weber uses in its genuine grill covers.

 5                 iii.      CCBAO Selling Account

 6           52.      At all times described herein, the CCBAO Selling Account was controlled and

 7    operated by the CCBAO Defendant and, on information and belief, other unknown parties.

 8           53.      Between September 2020 and April 2021, the CCBAO Defendant advertised,

 9    marketed, offered, and sold in the Amazon store inauthentic grill covers bearing the

10    unauthorized Weber Trademark through the CCBAO Selling Account, including the grill cover

11    models 7130 and 7149. Weber conducted a test purchase of model 7130 and 7149 grill covers

12    from the CCBAO Selling Account and, based on a physical examination, determined that they

13    were counterfeits. Although the products contained reproductions of the Weber Trademark, the

14    products and the products’ packaging differed from authentic Weber-brand grill covers. In

15    addition, the detail contained on the products’ tags was inconsistent with Weber’s

16    manufacturing specifications. Finally, the 7130 grill cover itself was made of a substandard

17    material that differs from the material Weber uses in its genuine grill covers.

18                 iv.       Grillike Selling Account

19           54.      At all times described herein, the Grillike Selling Account was controlled and

20    operated by the Grillike Defendant and, on information and belief, other unknown parties.

21           Between December 2020 and September 2021, the Grillike Defendant advertised,

22    marketed, offered, and sold in the Amazon store inauthentic grill covers bearing the

23    unauthorized Weber Trademark through the Grillike Selling Account, including the grill cover

24    model 7153. Weber conducted a test purchase of model 7153 grill cover from the Grillike

25    Selling Account and, based on a physical examination, determined that it was a counterfeit.

26    Although the product contained reproductions of the Weber Trademark, the product and the

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 1    product’s packaging differed from authentic Weber-brand grill covers. In addition, the detail

 2    contained on the product’s tag was inconsistent with Weber’s manufacturing specifications.

 3                 v.        HIMIRL Selling Account

 4           55.     At all times described herein, the HIMIRL Selling Account was controlled and

 5    operated by the HIMIRL Defendant and, on information and belief, other unknown parties.

 6           56.     Between May 2020 and February 2021, the HIMIRL Defendant advertised,

 7    marketed, offered, and sold in the Amazon store inauthentic grill covers bearing the

 8    unauthorized Weber Trademark through the HIMIRL Selling Account, including grill cover

 9    model 7107. Weber conducted a test purchase of a model 7107 grill cover from the HIMIRL

10    Selling Account and, based on a physical examination, determined it was a counterfeit.

11    Although the product contained reproductions of the Weber Trademark, the product and the

12    product’s packaging differed from authentic Weber-brand grill covers. In addition, the detail

13    contained on the product’s tag was inconsistent with Weber’s manufacturing specifications.

14    Finally, the grill cover itself was made of a substandard material that differs from the material

15    Weber uses in its genuine grill covers.

16                 vi.       Hozoee Selling Account

17           57.     At all times described herein, the Hozoee Selling Account was controlled and

18    operated by the Hozoee Defendant and, on information and belief, other unknown parties.

19           58.     Between January 2019 and February 2021, the Hozoee Defendant advertised,

20    marketed, offered, and sold in the Amazon store inauthentic grill covers bearing the

21    unauthorized Weber Trademark through the Hozoee Selling Account, including the grill cover

22    models 7109 and 7552. Weber conducted test purchases of model 7109 and 7552 grill covers

23    from the Hozoee Selling Account and, based on a physical examination, determined they were

24    counterfeits. Although the products contained reproductions of the Weber Trademark, the

25    products and the products’ packaging differed from authentic Weber-brand grill covers. In

26    addition, the detail contained on the products’ tags was inconsistent with Weber’s

27    manufacturing specifications. Finally, the 7552 grill cover itself was made of a substandard

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 1    material that differs from the material Weber uses in its genuine grill covers.

 2                 vii.          HZHJIY Selling Account

 3           59.          At all times described herein, the HZHJIY Selling Account was controlled and

 4    operated by the HZHJIY Defendant and, on information and belief, other unknown parties.

 5           60.          Between May 2020 and May 2021, the HZHJIY Defendant advertised,

 6    marketed, offered, and sold in the Amazon store inauthentic grill covers bearing the

 7    unauthorized Weber Trademark through the HZHJIY Selling Account, including the grill cover

 8    model 7131. Weber conducted a test purchase of a model 7131 grill cover from the HZHJIY

 9    Selling Account and, based on a physical examination, determined that it was a counterfeit.

10    Although the product contained reproductions of the Weber Trademark, the product and the

11    product’s packaging differed from authentic Weber-brand grill covers. In addition, the detail

12    contained on the product’s tag was inconsistent with Weber’s manufacturing specifications.

13    Finally, the grill cover itself was made of a substandard material that differs from the material

14    Weber uses in its genuine grill covers.

15                 viii.         MellSsa Selling Account

16           61.          At all times described herein, the MellSsa Selling Account was controlled and

17    operated by the MellSsa Defendant and, on information and belief, other unknown parties.

18           62.          Between April 2020 and May 2021, the MellSsa Defendant advertised,

19    marketed, offered, and sold in the Amazon store inauthentic grill covers bearing the

20    unauthorized Weber Trademark through the MellSsa Selling Account, including the grill cover

21    model 7130. Weber conducted a test purchase of a model 7130 grill cover from the MellSsa

22    Selling Account and, based on a physical examination, determined that it was a counterfeit.

23    Although the product contained reproductions of the Weber Trademark, the product and the

24    product’s packaging differed from authentic Weber-brand grill covers. In addition, the detail

25    contained on the product’s tag was inconsistent with Weber’s manufacturing specifications.

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 1                 ix.       Mustbuilty Selling Account

 2           63.     At all times described herein, the Mustbuilty Selling Account was controlled and

 3    operated by the Mustbuilty Defendant and, on information and belief, other unknown parties.

 4           64.     Between September and November 2020, the Mustbuilty Defendant advertised,

 5    marketed, offered, and sold in the Amazon store inauthentic grill covers bearing the

 6    unauthorized Weber Trademark through the Mustbuilty Selling Account, including the grill

 7    cover models 7107 and 7151. Weber conducted a test purchase of model 7107 and 7151 grill

 8    covers from the Mustbuilty Selling Account and, based on a physical examination, determined

 9    that they were counterfeits. Although the products contained reproductions of the Weber

10    Trademark, the products and the products’ packaging differed from authentic Weber-brand grill

11    covers. In addition, the detail contained on the products’ tags was inconsistent with Weber’s

12    manufacturing specifications.

13                 x.        Nexplas Selling Account

14           65.     At all times described herein, the Nexplas Selling Account was controlled and

15    operated by the Nexplas Defendant and, on information and belief, other unknown parties.

16           66.     Between December 2019 and February 2021, the Nexplas Defendant advertised,

17    marketed, offered, and sold in the Amazon store inauthentic grill covers bearing the

18    unauthorized Weber Trademark through the Nexplas Selling Account, including the grill cover

19    models 7108 and 7552. Weber conducted a test purchase of model 7108 and 7552 grill covers

20    from the Nexplas Selling Account and, based on a physical examination, determined that they

21    were counterfeits. Although the products contained reproductions of the Weber Trademark, the

22    products and the products’ packaging differed from authentic Weber-brand grill covers. In

23    addition, the detail contained on the products’ tags was inconsistent with Weber’s

24    manufacturing specifications. Finally, the grill covers themselves were made of a substandard

25    material that differs from the material Weber uses in its genuine grill covers.

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 1                     xi.           Pship Selling Account

 2               67.          At all times described herein, the Pship Selling Account was controlled and

 3    operated by the Pship Defendant and, on information and belief, other unknown parties.

 4               68.          Between January 2020 and May 2021, the Pship Defendant advertised,

 5    marketed, offered, and sold in the Amazon store inauthentic grill covers bearing the

 6    unauthorized Weber Trademark through the Pship Selling Account, including the grill cover

 7    model 7130. Weber conducted a test purchase of a model 7130 grill cover from the Pship

 8    Selling Account and, based on a physical examination, determined that it was a counterfeit.

 9    Although the product contained reproductions of the Weber Trademark, the product and the

10    product’s packaging differed from authentic Weber-brand grill covers. In addition, the detail

11    contained on the product’s tag was inconsistent with Weber’s manufacturing specifications.

12    Finally, the grill cover itself was made of a substandard material that differs from the material

13    Weber uses in its genuine grill covers.

14                     xii.          VIDVIE-US Selling Account

15               69.          At all times described herein, the VIDVIE-US Selling Account was controlled

16    and operated by the VIDVIE-US Defendant and, on information and belief, other unknown

17    parties.

18               70.          Between May and August 2021, the VIDVIE-US Defendant advertised,

19    marketed, offered, and sold in the Amazon store inauthentic grill covers bearing the

20    unauthorized Weber Trademark through the VIDVIE-US Selling Account, including the grill

21    cover model 7130. Weber conducted a test purchase of a model 7130 grill cover from the

22    VIDVIE-US Selling Account and, based on a physical examination, determined that it was a

23    counterfeit. Although the product contained reproductions of the Weber Trademark, the

24    product and the product’s packaging differed from authentic Weber-brand grill covers. In

25    addition, the detail contained on the product’s tag was inconsistent with Weber’s

26    manufacturing specifications.

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 1           E.      Defendants’ Coordinated Sale of Counterfeit Weber Products

 2           71.     On information and belief, Defendants operated in concert with one another in

 3    their marketing, selling, and distribution of inauthentic versions of Weber grill covers.

 4           72.     As part of their scheme to mislead customers, multiple Defendants falsely

 5    advertised in the Amazon store their counterfeit Weber-branded grill covers as authentic

 6    products, as exemplified below in Figures 1 and 2.

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                       Figure 1 is one of the images uploaded by the Pship Defendant to
 8                        advertise counterfeit 7130 grill covers in the Amazon store.
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                                Figure 2 is a screenshot of Weber’s listing of
 1                               the 7130 grill cover on its official website.
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18           73.     Moreover, Defendants engaged in a coordinated scheme closely associated with

19    a logistics provider that operated in Hillsboro, Oregon (the “Hillsboro Facility”) and an

20    individual identified by variations of the alias “Chen Luming” (herein referred to as “Luming”).

21    For instance, Defendants either: (1) managed the distribution of their counterfeit Weber grill

22    covers from the Hillsboro Facility to Amazon fulfillment centers for shipment and delivery to

23    customers and identified Luming as the person who shipped the products; or (2) deceitfully

24    identified Luming as a credit card holder associated with the Selling Accounts and the

25    Hillsboro Facility as the billing address for the credit card account. Based on information and

26    belief, Luming is a fictitious identity used by the true agents behind Defendants’ counterfeit

27    scheme to purposefully mislead Plaintiffs as to their true identities.

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 1              F.    Amazon and Weber Shut Down Defendants’ Selling Accounts

 2              74.   The Defendants behind the Selling Accounts falsely represented to Amazon and

 3    its customers that the grill covers they marketed and sold were genuine products made by

 4    Weber. Defendants also knowingly and willfully used Weber’s IP in connection with the

 5    advertisement, marketing, distribution, offering for sale, and sale of the counterfeit Weber

 6    products.

 7              75.   At all times, Defendants knew they were prohibited from violating third-party IP

 8    rights or any applicable laws while selling products in the Amazon store. Defendants have

 9    deceived Amazon’s and Weber’s customers, infringed and misused Weber’s IP rights, harmed

10    the integrity of and customer trust in the Amazon store, and tarnished Amazon’s and Weber’s

11    brands.

12              76.   Amazon, after receiving notice of Defendants’ illegal scheme, verified

13    Defendants’ unlawful sale of the counterfeit Weber product and promptly blocked Defendants’

14    Selling Accounts. In doing so, Amazon exercised its rights under the BSA to protect customers

15    and the reputations of Amazon and Weber.

16                                             V.     CLAIMS

17                                          FIRST CLAIM
                                    (by Weber against all Defendants)
18                             Trademark Infringement – 15 U.S.C. § 1114
19              77.   Plaintiff Weber incorporates by reference the allegations of the preceding

20    paragraphs as though set forth herein.

21              78.   Defendants’ activities constitute infringement of the Weber Trademark as

22    described in the paragraphs above.

23              79.   Weber advertises, markets, offers, distributes, and sells its products using the

24    Weber Trademark described above and uses that trademark to distinguish its products from the

25    products and related items of others in the same or related fields.

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 1           80.     Because of Weber’s long, continuous, and exclusive use of the Weber

 2    Trademark identified in this Complaint, the Weber Trademark has come to mean, and is

 3    understood by customers and the public to signify, products from Weber.

 4           81.     Defendants unlawfully advertised, marketed, offered, sold, and distributed

 5    inauthentic grill covers, which bear counterfeit versions of the Weber Trademark, with the

 6    intent and likelihood of causing customer confusion, mistake, and deception as to the products’

 7    source, origin, and authenticity. Specifically, Defendants intended customers to believe,

 8    incorrectly, that the products originated from, were affiliated with, and/or were authorized by

 9    Weber and likely caused such erroneous customer beliefs.

10           82.     As a result of Defendants’ wrongful conduct, Weber is entitled to recover its

11    actual damages, Defendants’ profits attributable to the infringement, and treble damages and

12    attorney fees pursuant to 15 U.S.C. § 1117(a) and (b). Alternatively, Weber is entitled to

13    statutory damages under 15 U.S.C. § 1117(c).

14           83.     Weber is further entitled to injunctive relief, including an order impounding all

15    infringing products and promotional materials in Defendants’ possession. Weber has no

16    adequate remedy at law for Defendants’ wrongful conduct because, among other things: (a) the

17    Weber Trademark is unique and valuable property that has no readily determinable market

18    value; (b) Defendants’ infringement constitutes harm to Weber and Weber’s reputation and

19    goodwill such that Weber could not be made whole by any monetary award; (c) if Defendants’

20    wrongful conduct is allowed to continue, the public is likely to become further confused,

21    mistaken, or deceived as to the source, origin, or authenticity of the infringing materials; and

22    (d) Defendants’ wrongful conduct, and the resulting harm to Weber, is likely to be continuing.

23                                        SECOND CLAIM
                                   (by Weber against all Defendants)
24              False Designation of Origin and False Advertising – 15 U.S.C. § 1125(a)
25           84.     Plaintiff Weber incorporates by reference the allegations of the preceding

26    paragraphs as though set forth herein.

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 1              85.   Weber owns the Weber Trademark and advertises, markets, offers, distributes,

 2    and sells its products using the Weber Trademark described above, and uses that trademark to

 3    distinguish its products from the products and related items of others in the same or related

 4    fields.

 5              86.   Because of Weber’s long, continuous, and exclusive use of the Weber

 6    Trademark, it has come to mean, and is understood by customers, end users, and the public, to

 7    signify products from Weber.

 8              87.   Defendants’ wrongful conduct includes the infringement of the Weber

 9    Trademark in connection with Defendants’ commercial advertising or promotion, offering for

10    sale, and sale of counterfeit Weber products in interstate commerce.

11              88.   In advertising, marketing, offering, and selling products bearing counterfeit

12    versions of the Weber Trademark, Defendants have used and, on information and belief,

13    continue to use the trademark referenced above to compete unfairly with Weber and to deceive

14    customers. Upon information and belief, Defendants’ wrongful conduct misleads and confuses

15    customers and the public as to the origin and authenticity of the goods and services advertised,

16    marketed, offered, distributed, or sold in connection with the Weber Trademark and wrongfully

17    trades upon Weber’s goodwill and business reputation.

18              89.   Defendants’ conduct constitutes (a) false designation of origin, (b) false or

19    misleading description, and (c) false or misleading representation that products originate from

20    or are authorized by Weber, all in violation of 15 U.S.C. § 1125(a)(1)(A).

21              90.   Defendants’ conduct also constitutes willful false statements in connection with

22    goods and/or services distributed in interstate commerce in violation of 15 U.S.C.

23    § 1125(a)(1)(B).

24              91.   Weber is entitled to an injunction against Defendants, their officers, agents,

25    representatives, servants, employees, successors and assigns, and all other persons in active

26    concert or participation with them, as set forth in the Prayer for Relief below. Defendants’ acts

27    have caused irreparable injury to Weber. The injury to Weber is irreparable and, on

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 1    information and belief, is continuing. An award of monetary damages cannot fully compensate

 2    Weber for its injuries, and Weber lacks an adequate remedy at law.

 3           92.        Weber is further entitled to recover Defendants’ profits, Weber’s damages for its

 4    losses, and Weber’s costs to investigate and remediate Defendants’ conduct and bring this

 5    action, including its attorney’s fees, in an amount to be determined. Weber is also entitled to

 6    the trebling of any damages award as allowed by law.

 7                                         THIRD CLAIM
                                  (by Amazon against all Defendants)
 8              False Designation of Origin and False Advertising – 15 U.S.C. § 1125(a)
 9           93.        Plaintiff Amazon incorporates by reference the allegations of the preceding

10    paragraphs as though set forth herein.

11           94.        Amazon’s reputation for trustworthiness is at the heart of its relationship with

12    customers. Defendants’ actions in selling counterfeits pose a threat to Amazon’s reputation

13    because they undermine and jeopardize customer trust in the Amazon store.

14           95.        Specifically, Defendants deceived Amazon and its customers about the

15    authenticity of the products they were advertising, marketing, offering, and selling, in direct

16    and willful violation of the BSA and Amazon’s Anti-Counterfeiting Policies. Defendants’

17    deceptive acts were material to Amazon’s decision to allow Defendants to sell their products in

18    the Amazon store because Amazon would not have allowed Defendants to do so but for their

19    deceptive acts.

20           96.        In advertising, marketing, offering, and selling counterfeit Weber products in the

21    Amazon store, Defendants made false and misleading statements of fact about the origin,

22    sponsorship, or approval of those products in violation of 15 U.S.C. § 1125(a)(1)(A).

23           97.        Defendants’ acts also constitute willful false statements in connection with

24    goods and/or services distributed in interstate commerce in violation of 15 U.S.C.

25    § 1125(a)(1)(B).

26           98.        As described above, Defendants, through their illegal acts, have willfully

27    deceived Amazon and its customers, jeopardized the trust that customers place in the Amazon

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 1    store, tarnished Amazon’s brand and reputation, and harmed Amazon and its customers.

 2    Defendants’ misconduct has also caused Amazon to expend significant resources to investigate

 3    and combat Defendants’ wrongdoing and to bring this lawsuit to prevent Defendants from

 4    causing further harm to Amazon and its customers. Defendants’ illegal acts have caused

 5    irreparable injury to Amazon and, on information and belief, that injury is ongoing at least to

 6    the extent that Defendants continue to establish other seller accounts under different or false

 7    identities. An award of monetary damages alone cannot fully compensate Amazon for its

 8    injuries, and thus Amazon lacks an adequate remedy at law.

 9           99.     Amazon is entitled to an injunction against Defendants, their officers, agents,

10    representatives, servants, employees, successors and assigns, and all other persons in active

11    concert or participation with them, as set forth in the Prayer for Relief below, along with its

12    attorneys’ fees and costs in bringing this lawsuit.

13                                       FOURTH CLAIM
                            (by Weber and Amazon against all Defendants)
14            Violation of Washington Consumer Protection Act, RCW 19.86.010, et seq.
15           100.    Plaintiffs incorporate by reference the allegations of the preceding paragraphs as

16    though set forth herein.

17           101.    Defendants’ advertising, marketing, offering, distribution, and selling of

18    counterfeit Weber products constitute an unfair method of competition and unfair and deceptive

19    acts or practices in the conduct of trade or commerce, in violation of RCW 19.86.020.

20           102.    Defendants’ advertising, marketing, offering, distribution, and selling of

21    counterfeit Weber products harms the public interest by deceiving customers about the

22    authenticity, origins, and sponsorship of the products.

23           103.    Defendants’ advertising, marketing, offering, distribution, and selling of

24    counterfeit Weber products directly and proximately causes harm to and tarnishes Plaintiffs’

25    reputations and brands, and damages their business and property interests and rights.

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 1           104.    Accordingly, Plaintiffs seek to enjoin further violations of RCW 19.86.020 and

 2    recover their attorneys’ fees and costs. Weber further seeks to recover its actual damages,

 3    trebled.

 4                                   VI.     PRAYER FOR RELIEF

 5           WHEREFORE, Plaintiffs respectfully pray for the following relief:

 6           A.      That the Court issue an order permanently enjoining Defendants, their officers,

 7    agents, representatives, servants, employees, successors, and assigns, and all others in active

 8    concert or participation with them, from:

 9                   (i)     selling products in the Amazon store;

10                   (ii)    selling products to Amazon or any affiliate;

11                   (iii)   opening or attempting to open any Amazon selling accounts;

12                   (iv)    manufacturing, distributing, offering to sell, or selling any product using

13                           Weber’s brand or the Weber Trademark, or which otherwise infringes

14                           Weber’s intellectual property, on any platform or in any medium;

15                   (v)     assisting, aiding or abetting any other person or business entity in

16                           engaging or performing any of the activities referred to in subparagraphs

17                           (i) through (iv) above;

18           B.      That the Court enter judgment in Plaintiffs’ favor on all claims brought by them;

19           C.      That the Court enter an order pursuant to 15 U.S.C. § 1116 impounding all

20    counterfeit and infringing products bearing the Weber Trademark or that otherwise infringe

21    Weber’s IP, and any related materials, including business records, in Defendants’ possession or

22    under their control;

23           D.      That the Court enter an order requiring Defendants to provide Plaintiffs a full

24    and complete accounting of all amounts due and owing to Plaintiffs as a result of Defendants’

25    unlawful activities;

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 1           E.      That Defendants be required to pay all general, special, and actual damages that

 2    Weber has sustained or will sustain as a consequence of Defendants’ unlawful acts, together

 3    with statutory damages, and that such damages be enhanced, doubled, or trebled as provided

 4    for by 15 U.S.C. § 1117(b), RCW 19.86.020, or otherwise allowed by law;

 5           F.      That Defendants be required to pay the costs of this action and Plaintiffs’

 6    reasonable attorneys’ fees incurred in prosecuting this action, as provided for by 15 U.S.C.

 7    § 1117, RCW 19.86.020, or otherwise allowed by law;

 8           G.      That the Court enter an order requiring that identified financial institutions

 9    restrain and transfer to Plaintiffs all amounts arising from Defendants’ unlawful counterfeiting

10    activities as set forth in this lawsuit, up to a total amount necessary to satisfy monetary

11    judgment in this case; and

12           H.      That the Court grant Plaintiffs such other, further, and additional relief as the

13    Court deems just and equitable.

14           DATED this 9th day of November, 2021.

15                                                       DAVIS WRIGHT TREMAINE LLP
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